Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 1 of 25




                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
                                             CASE NO.

   A.R., by and through her next friend, Susan
   Root; C.V., by and through his next friends,
   Michael and Johnette Wahlquist; M.D.,
   by and through her next friend, Pamela
   DeCambra; C.M., by and through his next
   friend, Norine Mitchell; B.M., by and
   through his next friend, Kayla Moore; and
   T.F., by and through his next friend,
   Michael and Liz Fauerbach; each
   individually, and on behalf of all other
   children similarly situated in the State of
   Florida,
                                                  COMPLAINT - CLASS ACTION FOR
          Plaintiffs,                             DECLARATORY AND INJUNCTIVE
   v.                                             RELIEF

   ELIZABETH DUDEK, in her official
   capacity as Secretary of the Agency for
   Health Care Administration; HARRY
   FRANK FARMER, JR., in his official
   capacity as the State Surgeon General and
   Secretary of the Florida Department of
   Health; KRISTINA WIGGINS, in her
   official capacity as Deputy Secretary of the
   Florida Department of Health and Director
   of Children’s Medical Services; and
   eQHEALTH SOLUTIONS, INC., a
   Louisiana non-profit corporation,

          Defendants.

  __________________________________/

         Plaintiffs, A.R., C.V., M.D., C.M., B.M., and T.F. by and through their respective next
  friends, on behalf of themselves and all other children similarly situated in the State of Florida,
  sue the Defendants, ELIZABETH DUDEK (“DUDEK”), in her official capacity as Secretary for
  the Agency for Health Care Administration (“AHCA”); HARRY FRANK FARMER, JR.
  (“FARMER”), in his official capacity as the State Surgeon General and Secretary of the Florida
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 2 of 25

                                                                               A.R. et a., v. DUDEK et al.
                                                                                             COMPLAINT

  Department of Health (“FDOH”); KRISTINA WIGGINS (“WIGGINS”), in her official capacity
  as Deputy Secretary of the FDOH and Director of Children’s Medical Services (“CMS”); and
  eQHEALTH SOLUTIONS, INC. (“eQHealth”), and allege as follows:


                                     PRELIMINARY STATEMENT
       1.   A.R., C.V., M.D., C.M., B.M., T.F., and Plaintiff Class members are medically fragile
            children. Many are on tracheotomies, gastrostomy tubes and ventilators.
       2.   A Medically Fragile Child is one who is
                medically complex and whose medical condition is of such a nature that
                he is technologically dependent, requiring medical apparatus or
                procedures to sustain life, e.g., requires total parenteral nutrition (TPN), is
                ventilator dependant, or is dependent on a heightened level of medical
                supervision to sustain life, and without such services is likely to expire
                without warning.

            Rule 59G-1.010(165), Fla. Admin. Code.
  3.        Plaintiffs and Plaintiff Class members live at home. They are members of families and
            communities.
  4.        Plaintiffs are being taken care of by loving and caring parents.
  5.        Nursing homes are segregated facilities, a congregation of strangers.
  6.        Plaintiffs and Plaintiff Class members need ongoing medical help to survive at home and
            to participate in a family and community.
  7.        Plaintiffs and Plaintiff Class members have been prescribed such medical help by their
            primary care physicians.
  8.        Plaintiffs and Plaintiff Class members have been prescribed private duty nursing care
            services, funded by Medicaid and administered by the Defendants.
  9.        The Plaintiffs and Plaintiff Class members are medically fragile children who receive
            private duty nursing in order to avoid unnecessary institutionalization in nursing
            facilities.
  10.       Private duty nursing services are “medically-necessary skilled nursing services that may
            be provided in a child’s home or other authorized settings to support the care required by
            the child’s complex medical condition.” Agency for Health Care Administration, Home



                                                      2
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 3 of 25

                                                                        A.R. et a., v. DUDEK et al.
                                                                                      COMPLAINT

        Health Services Coverage and Limitations Handbook, 2008, at 2-17, incorporated by
        reference in Rule 59G-4.001, Fla. Admin. Code. (Hereinafter Handbook).
  11.   The Defendants have failed and continue to fail to provide medically necessary services
        to Plaintiffs and Plaintiff Class members in Florida in accordance with Federal law.
  12.   As of the date of the filing of this Complaint, there are approximately 250 child Medicaid
        recipients in Florida nursing facilities.
  13.   As of the date of this Complaint, there are approximately 3,300 child Medicaid recipients
        of private duty nursing at risk of being placed in Florida nursing homes.
  14.   Defendants have adopted uniform policies, practices, and regulations to reduce private
        duty nursing services.
  15.   Due to the Defendants’ failure to provide those medically necessary services, the
        Plaintiffs and Plaintiff Class members are at risk of unnecessary institutionalization in
        nursing facilities.
  16.   The Plaintiffs and Plaintiff Class members seek a declaration that the Defendants’
        policies, regulations, actions and omissions are placing Plaintiffs at risk of being placed
        in segregated facilities, in violation of Title II of the Americans with Disabilities Act, 42
        U.S.C. §§ 12131-12165 (“ADA”); Section 504 of the Rehabilitation Act of 1973, 29
        U.S.C. § 794 (“Section 504”); Medicaid Act, 42 U.S.C. §§ 1396-1396v (“Medicaid”);
        Early and Periodic Screening, Diagnostic, and Treatment Services, 42 U.S.C. § 1396d(r)
        (“EPSDT Provisions”); and 42 U.S.C. § 1983.
  17.   The Plaintiffs and Plaintiff Class members seek for the court to enter a permanent
        injunction requiring the Defendants to provide for their medically necessary services and
        to provide such services in the most integrated setting appropriate.


                                  JURISDICTION AND VENUE
  18.   The Plaintiffs’ and Plaintiff Class members’ claims arise under the laws of the United
        States. This court has jurisdiction over the claims pursuant to 28 U.S.C. §§ 1331 and
        1343(a).
  19.   Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b)
        because a substantial part of the events or omissions giving rise to the claims occurred in
        the district.

                                                    3
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 4 of 25

                                                                       A.R. et a., v. DUDEK et al.
                                                                                     COMPLAINT

                                              PARTIES
                                         Named Plaintiffs
  20.   A.R. is a medically fragile 10-year-old child Medicaid recipient of private duty nursing
        services diagnosed with traumatic brain injury. A.R. lives with her next friend and
        mother, Susan Root, and her brother and sister, in Edgewater, Florida.
  21.   C.V. is a medically fragile eight-year-old child Medicaid recipient of private duty nursing
        services diagnosed with Hurler Syndrome. C.V. lives with his next friends and legal
        guardians, Michael and Johnette Wahlquist, and their children, in Bristol, Florida.
  22.   M.D. is a medically fragile 14-year-old child Medicaid recipient of private duty nursing
        services diagnosed with cerebral palsy and Strider Syndrome. M.D. lives with her next
        friend and mother, Pamela DeCambra, and her brother, in Tallahassee, Florida.
  23.   C.M. is a medically fragile four-year-old child Medicaid recipient of private duty nursing
        services diagnosed with chromosome deletion syndrome, chronic respiratory failure and
        severe cerebral palsy. C.M. lives with his next friend and mother, Norine Mitchell, and
        his father in Tallahassee, Florida.
  24.   B.M. is a medically fragile five-year-old child Medicaid recipient of private duty nursing
        services diagnosed with cerebral palsy and developmental delay. B.M. lives with his next
        friend and mother, Kayla Moore, and his father in Fountain, Florida.
  25.   T.F. is a medically fragile 18-year-old child Medicaid recipient of private duty nursing
        services diagnosed with cerebral palsy, mental retardation, and chronic lung disease. T.F.
        lives with his next friends and legal guardians, Michael and Liz Fauerbach, and his sister,
        in Miami, Florida.
                                              Defendants
  26.   DUDEK is the Secretary of AHCA, which is the single state agency responsible for
        administering the Medicaid program under Title XIX of the Social Security Act and for
        ensuring that the Medicaid program complies with federal law. See 42 U.S.C. §
        1396a(a)(5); §§ 409.012(2), (14) & (15), Fla. Stat.; and § 409.902, Fla. Stat. As such, she
        has a duty to ensure that AHCA programs are administered in accordance with the law.
        DUDEK is sued in her official capacity only, as Secretary of AHCA.
  27.   FARMER is the State Surgeon General and head of FDOH, which is the primary state
        agency responsible for administering the Children’s Medical Services (“CMS”) program

                                                  4
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 5 of 25

                                                                       A.R. et a., v. DUDEK et al.
                                                                                     COMPLAINT

        for children who require long term care and which administers the Children’s
        Multidisciplinary Assessment Team (“CMAT”) program. FARMER has the duty to
        ensure that FDOH programs are administered in accordance with the law. FARMER is
        sued in his official capacity.
  28.   WIGGINS is the Deputy Secretary of the Florida Department of Health and the Director
        of CMS. CMS, a division of the Florida Department of Health, is the lead agency of
        CMAT. CMAT is an inter-agency coordinated effort comprised of representatives
        from AHCA, the Department of Children and Families, the Agency for Persons with
        Disabilities and CMS. CMAT, under the leadership of CMS, makes recommendations
        for medically necessary services for children from birth to twenty-one who are medically
        fragile (65C-30.001, FAC). WIGGINS, as director of CMS, the lead agency of CMAT,
        has the duty to respond to the needs of each child and family and to guarantee the
        efficiency and effectiveness of support and services. WIGGINS is sued in her official
        capacity.
  29.   eQHealth is a Louisiana non-profit corporation with its principal place of business in
        Baton Rouge, Louisiana and is engaged in business in the State of Florida. eQHealth
        contracts with the Defendants to make medical necessity determinations.


        STATUTORY AND REGULATORY BACKGROUND AND FRAMEWORK
             The Americans with Disabilities Act, 42 U.S.C. §§ 12131-12165
  30.   In 1990, Congress enacted the Americans with Disabilities Act (ADA), which is the most
        comprehensive legislation geared toward the prohibition of discrimination based on
        disability. 42 U.S.C. §§ 12101-12213 (2000). When enacting the ADA, Congress noted
        “the nation’s proper goals regarding individuals with disabilities are to assure equality of
        opportunity, full participation, independent living, and economic self-sufficiency for such
        individuals.” Id. at 12101(a)(8).
  31.   In signing the ADA into law, President George H.W. Bush stated: “The Americans with
        Disabilities Act presents us all with an historic opportunity. It signals the end to the
        unjustified segregation and exclusion of persons with disabilities from the mainstream of
        American life.” Statement on Signing the Americans with Disabilities Act of 1990, 2
        Pub. Papers 1070, 1071 (July 26, 1990).


                                                  5
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 6 of 25

                                                                       A.R. et a., v. DUDEK et al.
                                                                                     COMPLAINT

  32.   Congress found the following:       (1) historically, society has tended to isolate and
        segregate individuals with disabilities, and, despite some improvements, such forms of
        discrimination against individuals with disabilities continue to be a serious and pervasive
        social problem; (2) discrimination against individuals with disabilities persists in such
        critical areas as housing, public accommodations, education and institutionalization; (3)
        individuals with disabilities continually encounter various forms of discrimination,
        including outright intentional exclusions, overprotective rules and policies, and
        segregation. See generally 42 U.S.C. §§ 12131-12165 (2000).
  33.   The ADA prohibits discrimination against individuals with disabilities by public entities:
               [N]o qualified individual with a disability shall, by reason of such
               disability, be excluded from participation in or be denied the benefits
               of the services, programs, or activities of a public entity, or be
               subjected to discrimination by any such entity.

        42 U.S.C. § 12132.
  34.   Segregation of children with disabilities from their homes is discrimination under the
        ADA. See 42 U.S.C. § 12101(a)(5); Olmstead v. L.C., 572 U.S. 581 (1999).
  35.   As public entities, Defendants are required to administer their services, programs and
        activities in “the most integrated setting appropriate” to the needs of Plaintiffs and
        Plaintiff Class members. See 28 C.F.R. § 35.130(d).
  36.   As public entities, Defendants are prohibited from providing “a qualified individual with
        a disability with an aide, benefit or service that is not as effective in affording equal
        opportunity to obtain the same result, to gain the same benefit, or to reach the same level
        of achievement as that provided others." 28 C.F.R. 35.130(b)(1)(iii).
  37.   As public entities, Defendants are prohibited from utilizing “criteria or methods of
        administration” that have the effect of subjecting Plaintiffs and Plaintiff Class members
        to discrimination on the basis of disability; or “that have the purpose or effect of
        defeating or substantially impairing accomplishment of the objectives of the entity's
        program with respect to individuals with disabilities...” 28 C.F.R. § 35.130(b)(3).


                Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794
  38.   Section 504 provides:


                                                 6
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 7 of 25

                                                                        A.R. et a., v. DUDEK et al.
                                                                                      COMPLAINT

                No otherwise qualified individual with a disability in the United
                States…shall, solely by reason of her or his disability, be excluded
                from the participation in, be denied the benefits of, or be subjected to
                discrimination under any program or activity receiving federal
                financial assistance ….
        29 U.S.C. § 794(a).
  39.   Regulations implementing Section 504 prohibit recipients of Federal financial assistance
        from:
                [u]tiliz[ing] criteria or methods of administration… (i) [t]hat have the
                effect of subjecting qualified handicapped persons to discrimination on
                the basis of handicap [or] (ii) [t]hat have the …effect of substantially
                impairing accomplishment of the recipients’ program with respect to
                handicapped persons.

        45 C.F.R. § 84.4(b)(4).
  40.   Disability discrimination claims brought under Section 504 are evaluated similarly to
        ADA claims. See Allmond v. Akal Sec., Inc., 558 F. 3d 1312, 1316 n.3 (11th Cir. 2009).
                   The United States Medicaid Act, 42 U.S.C. §§1396-1396v
  41.   The Medicaid program is a cooperative federal/state program that provides health care
        services to specified categories of individuals meeting income and other criteria. See 42
        U.S.C. §§ 1396-1396v.
  42.   Florida participates in the Medicaid program. See § 409.902, Fla. Stat.
                           Medicaid’s Early and Periodic Screening,
                         Diagnosis and Treatment (“EPSDT”) Program
  43.   Federal law lists 28 health care services which a state may provide through its Medicaid
        program. See 42 U.S.C. § 1396d(a)(1) – (28).
  44.   Some of these services are mandatory, meaning that if a state participates in Medicaid it
        must provide those services (i.e., inpatient hospital services; outpatient hospital services;
        physician visits; lab & x-ray services; nursing home services; early and periodic
        screening, diagnosis, and treatment services for children; and family planning services).
        42 U.S.C. § 1396a(a)(10)(A) (requiring states to provide the services listed at §
        1396d(a)(1)–(5), (17) & (21)).




                                                 7
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 8 of 25

                                                                        A.R. et a., v. DUDEK et al.
                                                                                      COMPLAINT

  45.   Most of the services are optional (i.e., prescription drugs, hospice, dental services,
        vision/optometry services, hearing services, chiropractic services, and podiatric services).

  46.   The package of mandatory and optional health care services that are provided by a state
        are known as the “State Plan.”

  47.   As part of its Early and Periodic Screening, Diagnosis and Treatment (“EPSDT”)
        Program, a state must provide all 28 health care services listed at 42 U.S.C. § 1396d(a)(1)
        – (28) to eligible children, which include private duty nursing services.
  48.   EPSDT requires screening, vision, dental, hearing and treatment services, and requires
        that such services include “such other necessary health care, diagnostic services,
        treatment, and other measures described in subsection (a) of this section to correct or
        ameliorate defects and physical and mental illnesses and conditions discovered by the
        screening services whether or not such services are covered under the State plan.” 42
        U.S.C. § 1396d(r)(5).

  49.   AHCA is required to
               pay for early and periodic screening and diagnosis of a recipient under
               age 21 to ascertain physical and mental problems and conditions and
               all services determined by the agency to be medically necessary for the
               treatment, correction, or amelioration of these problems and
               conditions, including personal care, private duty nursing, durable
               medical equipment, physical therapy, occupational therapy, speech
               therapy, respiratory therapy, and immunizations.

        § 409.905(2), Fla. Stat.
  50.   AHCA defines Medically necessary services as those that must:
               1. Be necessary to protect life, to prevent significant illness or significant
                  disability, or to alleviate severe pain;
               2. Be individualized, specific, and consistent with symptoms or confirmed
                  diagnosis of the illness or injury under treatment, and not in excess of
                  the patient’s needs;
               3. Be consistent with generally accepted professional medical standards as
                  determined by the Medicaid program, and not experimental or
                  investigational;
               4. Be reflective of the level of service that can be safely furnished, and for
                  which no equally effective and more conservative or less costly
                  treatment is available; statewide; and


                                                 8
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 9 of 25

                                                                         A.R. et a., v. DUDEK et al.
                                                                                       COMPLAINT

               5. Be furnished in a manner not primarily intended for the convenience of
                  the recipient, the recipient's caretaker, or the provider.

         Rule 59G-1.010(166)

  51.   AHCA’s policy regarding coverage of medically necessary services is found at Rule
        59G-4.130 of the Florida Administrative Code, which incorporates by reference the
        Florida Medicaid Home Health Services Coverage and Limitations Handbook, July 2008
        (the “Handbook”).
  52.   AHCA may authorize private duty nursing services where they are ordered by the child’s
        attending physician, are documented as medically necessary, are provided by a registered
        or licensed practical nurse, are consistent with the physicia[n] approved plan of care, and
        have been authorized before the services are provided.
  53.   AHCA does not authorize private duty nursing Services “solely for the convenience of
        the child, the parents or the caregiver.” (Handbook, at 2-17).
  54.   AHCA will decrease private duty nursing services “over time as parents and caregivers
        are taught skills to care for their child and are capable of safely providing that care or as
        the child’s condition improves.” (Handbook, at 2-19).
  55.   The patient’s physician has a role in determining what treatment is medically necessary,
        see Moore ex rel. Moore v. Medows, 324 Fed. Appx. 773, 774 (11th Cir. 2009), and for
        developing the plan of care for the Medicaid recipient.
  56.   Prior to June 1, 2011, AHCA contracted with Keystone Peer Review Organization
        (“KePRO”) as the State’s “comprehensive utilization management program.” §
        409.905(4)(b), Fla. Stat.
  57.   The contract between AHCA and KePRO terminated on May 31, 2011.
  58.   AHCA entered into a contract with eQHealth, beginning on June 1, 2011, as the State’s
        “comprehensive utilization management program,” which assesses children’s need for
        additional services. See § 409.905(4)(b), Fla. Stat.
  59.   Through its contract with AHCA, eQHealth has the authority to make medical necessity
        determinations on behalf of AHCA and to act as a witness for AHCA in all fair hearing
        proceedings resulting from decisions and actions made by eQHealth.
  60.   Each Medicaid recipient is provided services for a specific certification period.



                                                  9
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 10 of 25

                                                                        A.R. et a., v. DUDEK et al.
                                                                                      COMPLAINT

   61.   A certification period is the period covered by the recipient’s plan of care or the time
         period for which services are provided. Services can be approved for up to 180 days (6
         months). Thus, the review process takes place every six months.
   62.   The review process begins when a home health agency (the provider of the medical
         services), submits a request for services, such as private duty nursing services with a
         skilled nurse, home health aide services, personal care assistant services, or home health
         visit services. When a request is submitted, an eQHealth nurse reviewer determines if the
         information submitted is sufficient to approve the request based on the medical necessity
         guidelines, the Handbook, and other relevant statutes and regulations.
   63.   Nurse reviewers are not permitted to deny services; they are only permitted to approve
         services.
   64.   If the information that is submitted is insufficient for a nurse reviewer to make an
         approval, the review then goes to a physician reviewer. The physician reviewer reviews
         the information and makes a judgment based on the information provided and based on
         the applicable rules and regulations. Once that decision is rendered, it goes to the family
         and the provider who can then accept the decision or request a reconsideration within ten
         days from the denial of services.
   65.   If a reconsideration is requested, the provider then has an opportunity to provide
         additional information or clarification. The reconsideration then goes through the same
         process and is again reviewed by a nurse reviewer and if not approved by the nurse
         reviewer, to a second physician reviewer who is different from the original physician
         reviewer. The second physician reviewer renders a decision and can either uphold the
         denial or partial denial, approve the request as originally submitted, or modify the request
         and approve or deny something different.
                         Medicaid’s Reasonable Promptness Requirement
   66.   Federal Medicaid law provides that individuals eligible to receive medical assistance
         under the program shall receive it with “reasonable promptness.” 42 U.S.C. 1396a(a)(8).
                                   FACTUAL ALLEGATIONS
                                                A.R.
   67.   A.R. is diagnosed with traumatic brain injury.



                                                 10
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 11 of 25

                                                                        A.R. et a., v. DUDEK et al.
                                                                                      COMPLAINT

   68.   On January 24, 2010, at the age of 8 years old, A.R. was riding her scooter in front of her
         home and was hit by a vehicle. She was air lifted to Halifax Medical Center and it was
         found that she had severe brain trauma and that she was catastrophically injured.
   69.   She also has hydrocephalus, increased fluid in the brain, and has a surgically implanted
         shunt in her brain. A.R.’s brain injury requires her to have a tracheotomy tube and a g-
         tube for feeding. She has severe seizures daily.
   70.   A.R. cannot walk and is non-verbal. She uses a wheelchair for mobility.
   71.   A.R. is a qualified person with a disability.
   72.   A.R.’s single mother cannot work outside the home because she provides care to A.R.,
         her nine-year- old son who has been diagnosed with post-traumatic stress disorder after
         witnessing A.R.’s accident, and her 17-year-old daughter. A.R.’s mother has anxiety
         attacks.
   73.   Because of her health complications, A.R. has received Medicaid private duty nursing for
         approximately two years and is an ongoing Medicaid recipient of EPSDT Home Health
         Services.
   74.   A.R.’s treating physician has prescribed the medically necessary services for A.R.
   75.   A.R.’s condition has not improved and her need for services has remained the same.
   76.   Since 2010, eQHealth and AHCA has denied A.R.’s prescribed and requested services at
         least four times. Every certification period, eQHealth and AHCA has reduced services to
         A.R.
   77.   On August 25, 2011, A.R. received notice that eQHealth and AHCA was reducing A.R.’s
         prescribed nursing services from 12 hours day of private duty nursing and 12 hours a day
         of home health aide to just 10 hours of private duty nursing for six days and 14 hours for
         one day a week for the certification period of June 23, 2011 through December 19, 2011.
   78.   eQHealth and AHCA’s attempt to reduce A.R.’s services is not based on a change in the
         medical necessity of the services. There is no clinically sound reason for eQHealth and
         AHCA’s decision to reduce the services. This decision is not based on the individual
         need of A.R., is not justified by medical necessity, and does not reflect a professional
         judgment about A.R.’s condition. Rather, it is an administrative action made to save
         money.



                                                  11
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 12 of 25

                                                                        A.R. et a., v. DUDEK et al.
                                                                                      COMPLAINT

   79.   Without medically necessary services, A.R. will be institutionalized because her family
         will no longer be able to care for A.R. at home.
   80.   A.R. is at risk of residing in a nursing facility based upon the current policies and
         practices of the Defendants.
   81.   The cost of institutionalized in a nursing facility is more than the cost of providing at-
         home care.
                                                 C.V.
   82.   C.V. was a foster child, but has been living with the same family since March 2005; those
         parents are now his legal guardians.
   83.   C.V.’s Hurler Syndrome causes a multitude of medical complications for him, most
         notably that he cannot breathe without a tracheotomy tube. His other conditions include
         esophageal reflux, intestinal infection due to clostridium difficile, enteritis due to
         adenovirus, acute myocardinal infarction, asthma, acute respiratory failure, hemorrhage
         of the gastrointestinal tract, spinal kyphosis, other respiratory distress insufficiencies,
         moderate corneal clouding, and anomalies of the skull and face bones.
   84.   C.V.’s tracheotomy tube must be cleaned every five minutes.
   85.   C.V. cannot speak and requires constant supervision.
   86.   C.V. is a qualified person with a disability.
   87.   C.V.’s legal guardians both work full time jobs. Mr. Wahlquist owns and operates his
         business and is on call 24 hours a day, seven days a week, and works no less than 40
         hours a week. In addition to caring for C.V., Ms. Wahlquist cares for her blind father and
         works at least 40 hours a week.
   88.   Because of his health complications, C.V. has received Medicaid private duty nursing for
         approximately eight years and is an ongoing Medicaid recipient of EPSDT Home Health
         Services.
   89.   C.V.’s physician has prescribed the medically necessary services for C.V.
   90.   C.V.’s condition has not improved and his need for services has remained the same.
   91.   Since June 2006, AHCA has denied C.V. prescribed private duty nursing (“PDN”) care at
         least 13 times at certification reviews. Almost every request made to AHCA was
         originally denied and only after reconsideration or the fair hearing process, have the
         hours been approved.

                                                  12
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 13 of 25

                                                                         A.R. et a., v. DUDEK et al.
                                                                                       COMPLAINT

   92.   Since June 2006, for almost every certification period, eQHealth and AHCA has
         attempted to decrease services by increasing the amount of nursing hours denied. (e.g.,
         for the certification period of March 31, 2008-September 26, 2008, eQHealth and AHCA
         denied 200 PDN hours; for the certification period of September 27, 2008-March 25,
         2009, AHCA denied 696 PDN hours; for the certification period of March 26, 2009-
         September 9, 2009, AHCA denied 928 PDN hours).
   93.   On September 16, 2011, C.V. received notice that eQHealth and AHCA were reducing
         the prescribed hours from 24 hours per day to 16 hours per weekday and eight hours for
         the whole weekend for the certification period of September 12, 2011 through March 9,
         2012. This is a reduction of 8 hours of private duty nursing per weekday.
   94.   eQHealth and AHCA’s attempts to reduce C.V.’s services are not based on a change in
         the medical necessity of the services. There is no clinically sound reason for eQHealth
         and AHCA’s decision to reduce the services. This decision is not based on the individual
         need of C.V., is not justified by medical necessity, and does not reflect a professional
         judgment about C.V.’s condition. Rather, it is an administrative action made to save
         money.
   95.   Without medically necessary services, C.V. will be institutionalized because his family
         will no longer be able to care for C.V. at home.
   96.   C.V. is at risk of institutionalization in a nursing facility based upon the current
         regulations, rules, policies, practices, acts, and omissions of the Defendants.
   97.   The cost of institutionalization in a nursing facility is more than the cost of providing at-
         home care.
                                                 M.D.
   98.   M.D.’s Strider Syndrome causes a multitude of medical complications; most notably she
         has problems with breathing and has frequent seizures. Her other conditions include:
         esophageal spasms; inability to swallow, walk or talk; and a long history of frequent
         pneumonia. Because of her esophageal spasms, M.D. cannot swallow saliva and it
         accumulates in her throat. She must be bent over or moved to her side so the build-up can
         be removed. If she is not moved into the proper position, M.D. will suffocate. This
         experience usually sends her into a seizure and happens at least once per day. She cannot
         be left alone for any length of time.

                                                  13
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 14 of 25

                                                                          A.R. et a., v. DUDEK et al.
                                                                                        COMPLAINT

   99.    M.D. cannot speak and requires constant supervision.
   100.   M.D. is a qualified person with a disability.
   101.   M.D.’s mother is a single mother and works approximately 40-50 hours per week in a job
          which she has held for over 25 years.
   102.   Because of her health complications, M.D. has received Medicaid private duty nursing
          for approximately 11 years and is an ongoing Medicaid recipient of EPSDT Home Health
          Services.
   103.   M.D.’s physician has prescribed the medically necessary services for M.D.
   104.   M.D.’s condition has not improved and her need for services has remained the same.
   105.   Since 2008, eQHealth and AHCA has denied M.D. the prescribed private duty nursing
          hours on five occasions. Every request M.D. made to eQHealth and AHCA was
          originally denied and only after reconsideration or the fair hearing process, have the
          hours been approved or services maintained.
   106.   On May 11, 2009 for the certification period of April 28, 2009-October 24, 2009,
          eQHealth and AHCA reduced private duty nursing hours from 24 hours a day, 7 days a
          week for a total of 4,320 hours to 3,468 hours for a reduction of 852 hours.
   107.   eQHealth and AHCA’s attempts to reduce M.D.’s services are not based on a change in
          the medical necessity of the services. There is no clinically sound reason for eQHealth
          and AHCA’s decision to reduce the services. This decision is not based on the individual
          need of M.D., is not justified by medical necessity, and does not reflect a professional
          judgment about M.D.’s condition. Rather, it is an administrative action made to save
          money.
   108.   Without medically necessary services, M.D. will be institutionalized because her family
          will no longer be able to care for her at home. M.D. is at risk of institutionalization in a
          nursing facility based upon the current regulations, rules, policies, practices, acts, and
          omissions of the Defendants.
   109.   The cost of institutionalization in a nursing facility is more than the cost of providing at-
          home care.
                                                  C.M.
   110.   C.M.’s diagnoses cause a multitude of medical complications for him; most notably he
          requires constant use of a ventilator and oxygen concentrator.          He also requires a

                                                   14
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 15 of 25

                                                                          A.R. et a., v. DUDEK et al.
                                                                                        COMPLAINT

          tracheotomy tube and g-tube. His other conditions include epilepsy, dual sensory
          impairment, developmental delay, hypotonia, and hypothyroidism.
   111.   C.M.’s severe respiratory problems require that his tracheotomy tube must be cleaned
          every four hours; however, constant supervision is needed as it disconnects frequently.
          C.M. cannot speak and is not ambulatory. C.M. is currently taking over 25 medications
          which need to be administered in various dosages every two hours.
   112.   C.M. is a qualified person with a disability.
   113.   C.M.’s father works a full-time job. C.M.’s mother is an educated professional and was
          recently hired as a first grade teacher.
   114.   Because of his health complications, C.M. has received Medicaid private duty nursing for
          almost four years and is an ongoing Medicaid recipient of EPSDT Home Health Services.
   115.   C.M.’s treating physician has prescribed the medically necessary services for C.M.
   116.   C.M.’s condition has not improved and his need for services has remained the same.
   117.   Since 2011, eQHealth and AHCA has denied C.M.’s requested and prescribed nursing
          hours at least once.
   118.   On July 14, 2011, eQHealth and AHCA gave notice that they were reducing C.M.’s
          prescribed hours from 12 hours a day to eight hours a day, Tuesday through Sunday, and
          12 hours on Monday for the certification period of July 1, 2011 through December 27,
          2011.
   119.   eQHealth and AHCA’s attempts to reduce C.M.’s services are not based on a change in
          the medical necessity of the services. There is no clinically sound reason for eQHealth
          and AHCA’s decision to reduce the services. This decision is not based on the individual
          need of C.M., is not justified by medical necessity, and does not reflect a professional
          judgment about C.M.’s condition. Rather, it is an administrative action made to save
          money.
   120.   Without medically necessary services, C.M. will be institutionalized because his family
          will no longer be able to care for C.M. at home.
   121.   C.M. is at risk of residing in a nursing facility based upon the current policies and
          practices of the Defendants.
   122.   The cost of institutionalization in a nursing facility is more than the cost of providing at-
          home care.

                                                     15
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 16 of 25

                                                                          A.R. et a., v. DUDEK et al.
                                                                                        COMPLAINT

                                                  B.M.
   123.   B.M.’s Cerebral Palsy causes a multitude of medical complications, most notably he is
          dependent on a tracheotomy. His other conditions include periods of apnea, deafness,
          tracheal stricture and immobility.
   124.   B.M.’s tracheotomy tube must be suctioned out seven times a day and changed once a
          week. His apnea requires monitoring and supplemental oxygen.
   125.   B.M. is a qualified person with a disability.
   126.   B.M.’s father has a full-time job and is also on-call 24/7. B.M.’s mother has Lyme
          Disease, which prevents her from working; however, she provides B.M. with overnight
          care. The family’s location is at least three hours away from the nearest hospital.
   127.   Because of his health complications, B.M. has received Medicaid private duty nursing for
          approximately five years and is an ongoing Medicaid recipient of EPSDT Home Health
          Services.
   128.   B.M.’s physician has prescribed the medically necessary services for B.M.
   129.   B.M.’s condition has not improved and his need for services has remained the same.
   130.   Since 2011, eQHealth and AHCA have denied B.M.’s requested and prescribed nursing
          hours at least once.
   131.   On August 3, 2011, eQHealth and AHCA gave notice that they were reducing B.M.’s
          prescribed hours from nine hours a day, Monday through Friday, and ten hours a day on
          the weekends to eight hours a day, Monday through Friday, and no hours on the
          weekends for the certification period of July 31, 2011 through January 7, 2012.
   132.   eQHealth and AHCA’s attempt to reduce B.M.’s services is not based on a change in the
          medical necessity of the services. There is no clinically sound reason for eQHealth and
          AHCA’s decision to reduce the services. This decision is not based on the individual
          need of B.M., is not justified by medical necessity, and does not reflect a professional
          judgment about B.M.’s condition. Rather, it is an administrative action made to save
          money.
   133.   Without medically necessary services, B.M. will be institutionalized because his family
          will no longer be able to care for B.M. at home.
   134.   B.M. is at risk of residing in a nursing facility based upon the current policies and
          practices of the Defendants.

                                                   16
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 17 of 25

                                                                           A.R. et a., v. DUDEK et al.
                                                                                         COMPLAINT

   135.   The cost of institutionalization in a nursing facility is more than the cost of providing at-
          home care.
                                                   T.F.
   136.   T.F. was born with a variety of medical complications. T.F. has diagnoses of cerebral
          palsy, mental retardation, chronic lung disease, kyphoscoliosis, microcephalus, and
          gastroesophageal reflux. He has developmental delay, a seizure disorder, and cortical
          blindness. He requires the constant use of a ventilator and oxygen. T.F. has a g-tube and a
          tracheotomy tube.
   137.   T.F.’s ventilator must be checked hourly for proper function and deliverance of
          prescribed settings. Additionally, T.F. cannot be left alone because a disconnection from
          his ventilator will result in death. T.F. is unable to speak.
   138.   T.F. also requires frequent mechanical suctioning to help remove any obstruction from
          his airway. Due to T.F.’s involuntary movements, at least two people are required for
          suctioning. This procedure also stimulates T.F.’s gag reflex causing him to become
          distressed, oxygen saturation decreases, intense coughing attacks occur, increased heart
          rate and respiration occur.
   139.   T.F. is a qualified person with a disability.
   140.   T.F.’s mother is studying for her Certified Personal Accountant exam and caring for
          another child with a chronic gastrointestinal medical condition. T.F.’s father works
          overtime to financially provide for his family.
   141.   T.F.’s treating physician has prescribed the medically necessary services for T.F.
   142.   T.F.’s condition has not improved and his need for services has remained the same.
   143.   eQHealth and AHCA reduced T.F’s requested and prescribed nursing hours from nine
          hours per weekday, eight hours on Saturday and no hours on Sunday to eight hours per
          weekday with no hours on the weekends. This is a reduction from 1,370 private duty
          nursing hours to 688 hours for the total certification period.
   144.   On July 25, 2011, eQHealth and AHCA gave notice that they were reducing T.F.’s
          prescribed services from a Registered Nurse to a Licensed Practical Nurse for the
          certification period of July 3, 2011 through December 24, 2011.
   145.   eQHealth and AHCA’s attempt to reduce T.F.’s services is not based on a change in the
          medical necessity of the services. There is no clinically sound reason for eQHealth and

                                                    17
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 18 of 25

                                                                          A.R. et a., v. DUDEK et al.
                                                                                        COMPLAINT

          AHCA’s decision to reduce the services. This decision is not based on the individual
          need of T.F., is not justified by medical necessity, and does not reflect a professional
          judgment about T.F.’s condition. Rather, it is an administrative action made to save
          money.
   146.   Without medically necessary services, T.F. will be institutionalized and his family will no
          longer be able to care for T.F. at home.
   147.   T.F. is at risk of residing in a nursing facility based upon the current policies and
          practices of the Defendants.
   148.   The cost of institutionalization in a nursing facility is more than the cost of providing at-
          home care.
                                     GENERAL ALLEGATIONS
   149.   Plaintiffs and Class members are able to, and desire to, live in the community with the
          appropriate services and supports.
   150.   Defendants have available community-based services for medically fragile children,
          including residential assistance services, habilitation services, and private duty nursing
          services, which would enable Plaintiffs and Class members to live and continue to live in
          their homes and in the community.
   151.   The provision of appropriate services and supports in the community is a reasonable
          accommodation for the Plaintiffs and Class members.
   152.   Nursing facilities are not integrated or appropriate settings for Plaintiffs and Class
          members.
   153.   The Defendants have developed regulations, rules, customs, practices, policies, acts, and
          omissions of reducing the prescribed medically necessary services to medically fragile
          children to the point that the Plaintiffs’ caregivers cannot provide safe and appropriate
          care to the Plaintiffs and Plaintiff class. For example:
          a.       “Florida Medicaid does not reimburse private duty nursing services provided
                   solely for the convenience of the child, the parents or the caregiver.” Handbook at
                   2-17. This restriction is based on the regulatory definition of “medically
                   necessary,” found at Rule 59G-1.010(166)(a), Fla. Admin. Code, which states, in
                   part, that medically necessary services must “[b]e furnished in a manner not
                   primarily intended for the convenience of the recipient, the recipient's caretaker,

                                                     18
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 19 of 25

                                                                           A.R. et a., v. DUDEK et al.
                                                                                         COMPLAINT

                 or the provider.” Defendants adopted this policy without the authority of any
                 similar federal Medicaid policy, rule or statute, giving Defendants a basis to deny
                 private duty nursing service hours that have been prescribed by Plaintiff and
                 Plaintiff Class members’ treating physicians. eQHealth and AHCA’s application
                 of this policy is forcing parents and caregivers to institutionalize their children.
          b.     “Private duty nursing services will be decreased over time as parents and
                 caregivers are taught skills to care for their child and are capable of safely
                 providing that care or as the child’s condition improves.” Handbook at 2-19.
                 Defendants adopted this policy without the authority of any similar federal
                 Medicaid policy, rule or statute, giving Defendants a basis to deny private duty
                 nursing services that have been prescribed by Plaintiff and Plaintiff Class
                 members’ treating physicians. Plaintiff and Plaintiff Class members’ conditions
                 will not improve over time, yet eQHealth and AHCA have routinely denied
                 services even where Plaintiff and Plaintiff Class members’ needs have not
                 decreased.
          c.     Parents and caregivers of Plaintiffs and Plaintiff class members are not capable of
                 safely providing the required care because they are not medical professionals
                 and/or are not available to provide the services at the required level or duration.
                 Plaintiff and Plaintiff Class members are at risk of being placed in a nursing home
                 because Defendants have unlawfully shifted the burden for providing skilled
                 nursing services to the parents or caregivers of children who are not skilled
                 nurses. In contrast, there are not similar regulations, rules, customs, practices,
                 policies, acts, and omissions utilized to deny benefits and to unnecessarily
                 institutionalize and segregate similarly situated adults with disabilities.
          d.     eQHealth and AHCA have a pattern and practice of denying or reducing services
                 at each certification period without regard to the child’s condition.
   154.   The overall costs to institutionalize all of the Plaintiffs and Plaintiff class members in
          nursing facilities is more than the overall costs of providing at home care.
   155.   Defendants have and continue to make cuts in Plaintiffs’ and Class members’ services
          which have placed them at risk of unnecessary institutionalization in nursing facilities.



                                                   19
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 20 of 25

                                                                          A.R. et a., v. DUDEK et al.
                                                                                        COMPLAINT

   156.   The Defendants’ actions were taken under the color of law and the Defendants knew or
          should have known that the policies, practices, acts, and conditions alleged herein would
          result in the unnecessary institutionalization of the Plaintiffs and Plaintiff class members
          in nursing facilities.


                                   CLASS ACTION ALLEGATIONS
   157.   Plaintiffs seek to bring this case as a class action, pursuant to Fed. R. Civ. P. 23(a) &
          (b)(2), and S.D. Loc. R. 23.1(b), on behalf of themselves and for all other medically
          fragile Florida children Medicaid recipients of private duty nursing services (birth
          through 21) who are at risk of institutionalization.
                                            NUMEROSITY
   158.   The proposed class is so numerous that joinder of all members is impractical. On
          information and belief, approximately 3,300 medically fragile children who receive
          private duty nursing fall within the definition of the class.
                           COMMON QUESTIONS OF LAW AND FACT
   159.   There are questions of law and fact common to the class including:
          a.      Whether Defendants violated Plaintiffs’ and class members’ rights under the
                  ADA, in specific, whether the Defendants’ uniform practices and policies have
                  placed Plaintiffs and Plaintiff class members at risk of being institutionalized in
                  nursing homes;
          b.      Whether Defendants violated Plaintiffs’ and class members’ rights under Section
                  504 of the Rehabilitation Act, in specific, whether the Defendants’ uniform
                  practices and policies have placed Plaintiffs and Plaintiff class members at risk of
                  being institutionalized in nursing homes;
          c.      Whether Defendants violated Plaintiff’s and class members’ right under the
                  Medicaid Act, in specific, whether the Defendants’ uniform practices and policies
                  have violated Medicaid’s EPSDT and reasonable promptness requirements by
                  failing to provide Plaintiffs and Plaintiff class members with medically necessary
                  PDN services;
          d.      Whether Plaintiffs and class members are entitled to declaratory and injunctive
                  relief by virtue of Defendants’ violations of law.

                                                    20
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 21 of 25

                                                                             A.R. et a., v. DUDEK et al.
                                                                                           COMPLAINT



                                             TYPICALITY
   160.   Plaintiffs’ claims are typical of the claims of the class members because they are based
          on the same factual, legal and remedial theories as the claims of the class.
   161.   Plaintiff class members are qualified persons with disabilities.
                               ADEQUACY OF REPRESENTATION
   162.   The Plaintiffs can and will fairly and adequately represent and protect the interests of the
          class members because the Plaintiffs are similarly situated with, and have suffered similar
          injuries as, the members of the class the Plaintiffs seek to represent.
   163.   The Plaintiffs have no interests that conflict with or are antagonistic to the interests of the
          entire Class.
   164.   The Plaintiffs have retained attorneys competent and experienced in class actions who
          will vigorously prosecute this litigation.
                                             COUNT 1
                                           Title II of ADA
                                        (ALL DEFENDANTS)
   165.   The Plaintiffs repeat the allegations in paragraphs 1 through 164 of the Complaint as if
          fully set forth herein.
   166.   Count 1 is a claim under Title II of the ADA, 42 U.S.C. §§ 12131-12165.
   167.   Plaintiffs are qualified individuals with disabilities within the meaning of the ADA.
   168.   AHCA, FDOH, and CMS are public entities within the meaning of the ADA.
   169.   By virtue of its contract, eQHealth serves as a quasi-public entity within the meaning of
          the ADA.
   170.   The ADA requires that “no qualified individual with a disability shall, by reason of such
          disability, be excluded from participation in or be denied the benefits of the services,
          programs, or activities of a public entity, or be subjected to discrimination by any such
          entity.” 42 U.S.C. § 12132.

   171.   Further, the regulations implementing the ADA require that “a public entity shall
          administer services, programs and activities in the most integrated setting appropriate to
          the needs of qualified individuals with disabilities.” 28 C.F.R. § 35.130(d).




                                                       21
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 22 of 25

                                                                               A.R. et a., v. DUDEK et al.
                                                                                             COMPLAINT

   172.   Public entities “shall not impose or apply eligibility criteria that screen out or tend to
          screen out an individual with a disability or any class of individuals with disabilities from
          fully and equally enjoying any service, program, or activity, unless such criteria can be
          shown to be necessary for the provision of the service, program, or activity being
          offered.” 28 C.F.R. § 35.130(b)(8).
   173.   As public entities, Defendants are prohibited from providing “a qualified individual with
          a disability with an aide, benefit or service that is not as effective in affording equal
          opportunity to obtain the same result, to gain the same benefit, or to reach the same level
          of achievement as that provided others." 28 CFR 35.130(b)(1)(iii)
   174.   Defendants have discriminated against Plaintiffs and Plaintiff Class members in violation
          of the ADA on the basis of their disabilities by denying Plaintiffs and Plaintiff Class
          members medically necessary services in the community as a reasonable accommodation,
          resulting in Plaintiffs and Plaintiff Class members being at risk of unnecessary
          institutionalization in nursing facilities.
   175.   As a result of the Defendants’ ongoing violations, the Plaintiffs and the Plaintiff Class
          members continue to be harmed.
                                                 COUNT 2
                                    Section 504 of the Rehabilitation Act
                                           (ALL DEFENDANTS)
   176.   The Plaintiffs repeat the allegations in paragraphs 1 through 164 of the Complaint as if
          fully set forth herein.
   177.   Count 2 is a claim under Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. §.
          794(a).
   178.   Defendants are directors of agencies that receive federal financial assistance.
   179.   The Defendants have discriminated against the Plaintiffs and Plaintiff Class members in
          violation of Section 504 of the Rehabilitation Act on the basis of their disabilities by
          denying the Plaintiffs and Plaintiff Class members medically necessary services, as a
          reasonable accommodation, resulting in the Plaintiffs and Plaintiff Class members being
          at risk of unnecessary institutionalization in nursing facilities.
   180.   As a result of the Defendants’ ongoing violations, the Plaintiffs and the Plaintiff Class
          members continue to be harmed.


                                                        22
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 23 of 25

                                                                          A.R. et a., v. DUDEK et al.
                                                                                        COMPLAINT

                                            COUNT 3
                42 U.S.C. § 1983 – United States Medicaid Act – EPSDT Violations
                                     (ALL DEFENDANTS)
   181.   The Plaintiffs repeat the allegations in paragraphs 1 through 164 of the Complaint as if
          fully set forth herein.
   182.   Count 3 is a 42 U.S.C. § 1983 claim against the Defendant for violation of Plaintiff’s
          rights under the EPSDT provisions of the United States Medicaid Act, 42 U.S.C. §
          1396a(a)(43); 42 U.S.C. § 1396d(a)(4)(B); and 42 U.S.C. § 1396d(r).
   183.   AHCA’s definition of “medical necessity”, see Rule 59G-1.010(166) (incorporated
          through the Handbook), is preempted by federal law and is invalid pursuant to the
          Supremacy Clause of the United States Constitution. See U.S. Const. Art VI, § 2.
   184.   Defendants’ regulations, rules, policies, procedures, customs and practices for providing
          private duty nursing, below the level that is medically necessary, violate the EPSDT
          provisions of the federal Medicaid statute at 42 U.S.C. § 1396a(a)(43); 42 U.S.C. §
          1396d(a)(4)(B); and 42 U.S.C. § 1396d(r). This violation entitles Plaintiffs to relief under
          42 U.S.C. § 1983.
   185.   As a result of the Defendants’ violations, the Plaintiffs and Plaintiff class have been
          damaged.

                                           COUNT 4
            42 U.S.C. § 1983 – United States Medicaid Act – Reasonable Promptness
                                    (ALL DEFENDANTS)
   186.   The Plaintiffs repeat the allegations in paragraphs 1 through 164 of the Complaint as if
          fully set forth herein.
   187.   Count 4 is a claim under 42 U.S.C. § 1983 against the Defendants for violation of
          Plaintiff’s rights under the Reasonable Promptness provision of the United States
          Medicaid Act, 42 U.S.C. § 1396a(a)(8).
   188.   Defendants’ regulations, rules, policies, customs, and practices, which limit the provision
          of medically necessary community-based services and supports, as well as medically
          necessary specialized services, result in extended delays and outright denials of medically
          necessary care to the Plaintiffs and members of the Plaintiff class.




                                                   23
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 24 of 25

                                                                            A.R. et a., v. DUDEK et al.
                                                                                          COMPLAINT

   189.   The residential support, habilitation and other specialized services that Plaintiffs and the
          Plaintiff Class needs are not provided with reasonable promptness, in violation of 42
          U.S.C. § 1396a(a)(8).
   190.   As a result of the Defendants’ violations, the Plaintiffs and Plaintiff class have been
          damaged.
                                        PRAYER FOR RELIEF
          WHEREFORE, Plaintiffs pray for relief as follows:
   (1)    Declare that the Defendants violated the Americans With Disabilities Act when they
          refused to provide medically necessary services, and reasonable accommodations to the
          Plaintiff and Plaintiff class members, resulting in Plaintiffs and Plaintiff class members
          being at risk of unnecessary institutionalization in nursing facilities;
   (2)    Declare that the Defendants violated Section 504 of the Rehabilitation Act of 1973 when
          they refused to provide medically necessary services, and reasonable accommodations to
          the Plaintiff and Plaintiff class members, resulting in the Plaintiffs and the Plaintiff class
          members being at risk of unnecessary institutionalization in nursing facilities;
   (3)    Declare that the Defendants have violated the Medicaid Act: 42 U.S.C. § 1396a(a)(43);
          42 U.S.C. § 1396d(a)(4)(B); 42 U.S.C. § 1396d(r); and 42 U.S.C. 1396a(a)(8);
   (4)    Order the Defendants to provide private duty nursing services that will allow the
          Plaintiffs and Plaintiff class members to live in their homes and communities;
   (5)    Order the Defendants to cease the practice of denying or reducing Plaintiff and Plaintiff
          Class members’ services at recertification where there has been no change in the medical
          necessity of such services;
   (6)    Award attorneys’ fees and costs pursuant to 42 U.S.C. § 1988; 42 U.S.C. § 12133; and 29
          U.S.C. § 794a; and
   (7)    Grant such other and further relief as this court may deem just and proper.




                                                    24
Case 0:12-cv-60460-DMM Document 1 Entered on FLSD Docket 03/13/2012 Page 25 of 25

                                                                     A.R. et a., v. DUDEK et al.
                                                                                   COMPLAINT

   Respectfully Submitted on this 13th day of March, 2012,


 Law Offices of Matthew W. Dietz, P.L.                 FSU College of Law Public Interest Law
                                                       Center
 2990 SW 35th Ave.
 Miami, FL 33133                                       425 W. Jefferson Street
 Phone: (305) 669-2822                                 Tallahassee, FL 32306
 Fax:   (305) 442-4181                                 Phone: (850) 644-9928
 Email: Matthewdietz@usdisabilitylaw.com               Fax: (850) 644-0879
 Lead Trial Attorney                                   Email: Pannino@law.fsu.edu
                                                       Co-counsel
 By: s/ Matthew W. Dietz
                                                       By: s/ Paolo G. Annino
    Matthew W. Dietz
                                                           Paolo G. Annino
    Fla. Bar No. 84905
                                                           Florida Bar No. 0379166
 The North Florida Center For Equal Justice, Inc.
 2121 Delta Blvd.
 Phone: (850) 701-3980
 Fax: (850) 701-3985
 Co-counsel

 By: s/ Jamie Ito
    Jamie Ito
    Fla. Bar No. 13553
   jamie@nfcfej.org
 By: s/ Edward J. Grunewald
    Edward J. Grunewald
    Fla. Bar No. 612472
   egrunewald@nfcfej.org
 By: s/ Jill B. Zaborske
    Jill B. Zaborske
    Fla. Bar No. 621005
    jill@nfcfej.org
   Tallahassee, FL 32303




                                                 25
